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                                    Case No. 23-15285

                                            In the

     United States Court of Appeals
                                            for the

                                   Ninth Circuit

                   IN RE GOOGLE PLAY STORE ANTITRUST LITIGATION
                            _____________________________

                     MARY CARR, INDIVIDUALLY AND ON BEHALF OF
                       ALL OTHERS SIMILARLY SITUATED; ET AL.,
                                Plaintiffs-Appellees,

                                              v.

                                    GOOGLE LLC; ET AL.,
                                    Defendants-Appellants.
                         _______________________________________
             On Interlocutory Appeal from the United States District Court
                 for the Northern District of California (San Francisco),
     Case Nos. 21-md-02981; 21-cv-5761 • Honorable James Donato, District Judge

  BRIEF OF ATLANTIC LEGAL FOUNDATION AS AMICUS CURIAE
   IN SUPPORT OF DEFENDANTS-APPELLANTS AND REVERSAL

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                     PRELIMINARY STATEMENT

      This amicus curiae brief in support of Defendants-Appellants

(“Google”) is being filed in accordance with Federal Rule of Appellate

Procedure 29(a) and Circuit Advisory Committee Note 29-3.

     Defendants-Appellants         and       Plaintiffs-Appellees    both     have

consented to the filing of this brief.

     Pursuant to Federal Rule of Appellate Procedure 29(a)(4)(E), no

party’s counsel authored this brief in whole or part, and no party or

party’s counsel, and no person other than the amicus curiae, its

supporters, or its counsel, contributed money that was intended to fund

preparing or submitting the brief.

                INTEREST OF THE AMICUS CURIAE

      Established in 1977, the Atlantic Legal Foundation (“ALF”) is a

national, nonprofit, public interest law firm whose mission is to advance

the rule of law by advocating for individual liberty, free enterprise,

property rights, limited and efficient government, sound science in

judicial and regulatory proceedings, and effective education. With the

benefit of guidance from the distinguished legal scholars, corporate legal

officers, private practitioners, business executives, and prominent


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scientists who serve on its Board of Directors and Advisory Council, the

Foundation pursues its mission by participating as amicus curiae in

carefully selected appeals before the Supreme Court of the United States,

federal courts of appeals, and state supreme courts.

                                     * * *

     ALF long has been one of the nation’s foremost advocates for

ensuring that federal district courts fulfill their evidentiary gatekeeper

role by admitting into evidence, or otherwise relying upon, only expert

testimony that is reliable as well as relevant. For example, on behalf of

esteemed scientists such as Nicholaas Bloembergen (a Nobel laureate in

physics) and Bruce Ames (one of the world’s most frequently cited

biochemists), ALF submitted amicus briefs in each of the “Daubert

trilogy” of cases—Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S.

579 (1993); General Electric Co. v. Joiner, 522 U.S. 136 (1997); and

Kumho Tire Co. v. Carmichael, 526 U.S. 137 (1999)—concerning

admissibility of expert testimony under Federal Rule of Evidence 702. In

Daubert, 509 U.S. at 590, the Court quoted ALF’s brief on the meaning

of “scientific . . . knowledge” as used in Rule 702.




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     More recently, ALF submitted to the U.S. Judicial Conference’s

Committee on Rules of Practice and Procedure written comments

supporting Rule 702 amendments that will reinforce a federal district

court’s expert testimony gatekeeper role. These clarifying amendments

(discussed in Argument B of this brief) have been approved by the

Supreme Court and transmitted to Congress. They are expected to take

effect on December 1, 2023, and already are being followed by many

courts around the nation.

                             INTRODUCTION

     The district court’s extensive reliance on the testimony of the

Consumer Plaintiffs’ economic expert, Dr. Hal J. Singer, was pivotal to

its class-certification decision. Google objected to Dr. Singer’s formulas

and methods as unreliable, and thus inadmissible under Federal Rule of

Evidence 702 and the Daubert admissibility standards that the rule

incorporates. The district court not only denied Google’s motion to

exclude Dr. Singer’s testimony, but also repeatedly pointed to his

formulas and methods as proof that satisfies Federal Rule of Civil

Procedure 23 class-certification requirements.




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     For example, the district court indicated that “Google’s main

Daubert objection is to Dr. Singer’s ‘pass-through formula’ . . . an

essential element of his opinions about Google’s overcharges in app sales,

and the artificially inflated prices consumers paid as a consequence.”

Order    re   Consumer       Plaintiffs’       Class   Certification   Motion   and

Defendants’ Motion To Exclude Expert Testimony (“Order”), ER-10.

Rejecting Google’s contention that the Consumer Plaintiffs “have no

common proof of pass through,” the district court relied exclusively on Dr.

Singer’s pass-through theories as the Consumer Plaintiffs’ “common

method of proving antitrust impact” for purposes of Rules 23(a)(2)

(“commonality”) & (b)(3) (“predominance”). Id. at ER-17. Explaining that

“[t]he ‘pass-through’ rate is a critical element of Dr. Singer’s overcharge

analysis,” the district court found that his “pass-through formula is

suitable as an element of classwide proof of antitrust impact and injury.”

Id. at ER-11, 19. Giving short shrift to its expert testimony gatekeeper

duty, the court asserted that Google’s objections to the reliability of Dr.

Singer’s opinions are “the stuff of cross-examination and not exclusion.”

Id. at ER-13.




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     This amicus brief discusses the important role that Federal Rule of

Evidence 702 plays in class-certification decisions, especially where, as

here, such a decision is predicated on expert testimony. The brief then

explains why the district court’s approach to Dr. Singer’s testimony is

inconsistent with Rule 702’s fundamental reliability requirement,

especially as clarified by the forthcoming amendments to that rule.

                                ARGUMENT

The District Court’s Erroneous Denial of Google’s Motion To
Exclude the Testimony of the Consumer Plaintiffs’ Economic
Expert Is Sufficient Reason To Reverse Class Certification

     A.    Federal Rule of Evidence 702 plays a critical role in
           class-certification decisions where, as here, they rely
           exclusively on expert testimony

     The Ninth Circuit repeatedly has recognized that the reliability and

other admissibility standards set forth in Rule 702 apply to expert

testimony submitted in support of, or in opposition to, class certification

under Federal Rule of Civil Procedure 23.

     For example, in Ellis v. Costco Wholesale Corp., 657 F.3d 970 (9th

Cir. 2011), a Rule 23(f) challenge to class certification, the court of

appeals indicated that the district court’s analysis of commonality

“correctly applied the evidentiary standard set forth in Daubert.” Id. at

982 (explaining that Daubert, 509 U.S. at 589-90, “requires a court to
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admit or exclude evidence based on its scientific reliability and

relevance”). Further, the court observed that in Wal-Mart Stores, Inc. v.

Dukes, 564 U.S. 338, 354 (2011), the Supreme Court expressed “doubt”

concerning a district court’s conclusion “that Daubert did not apply to

expert testimony at the certification stage of class-action proceedings.”

Id.; see also Chen-Oster v. Goldman, Sachs, & Co., 114 F. Supp. 3d 110,

114 (S.D.N.Y. 2015) (“[T]he Supreme Court itself has expressed

skepticism at the suggestion that Daubert would not apply to expert

testimony at the class certification stage.”); Ralston v. Mortg. Invs. Grp.,

Inc., No. 08-536-JF PSG, 2011 WL 6002640, at *3 (N.D. Cal. Nov. 30,

2011) (“The Supreme Court recently indicated that so-called Daubert

review of the reliability and relevance of expert testimony under Fed. R.

Evid. 702 is appropriate at the class certification stage.”)

     Recognizing that Rule 702’s admissibility criteria apply to expert

testimony proffered in the class-certification context, the Ninth Circuit

panel in Ellis explained that “the trial court must act as a ‘gatekeeper’ to

exclude junk science that does not meet Federal Rule of Evidence 702’s

reliability standards by making a preliminary determination that the

expert’s testimony is reliable.” Ellis, 657 F.3d 982 (citing Kumho Tire,


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526 U.S. at 145, 147-49). The Ellis panel faulted the district court,

however, for limiting the required “rigorous analysis” of commonality to

its finding that the plaintiffs’ evidence was admissible. Id.

       More recently, in Olean Wholesale Grocery Coop., Inc. v. Bumble

Bee Foods LLC, 31 F.4th 651 (9th Cir.) (en banc), a Rule 23(f) challenge

to class certification in antitrust litigation, the court of appeals explained

that

            [i]n carrying the burden of proving facts necessary
            for certifying a class under Rule 23(b)(3), plaintiffs
            may use any admissible evidence. See Tyson
            Foods, [Inc. v. Bouaphakeo, 577 U.S. 442, 454–55
            (2016)] (explaining that admissibility of evidence
            at certification must meet all the usual
            requirements of admissibility and citing to Rules
            401, 403, and 702 of the Federal Rules of
            Evidence).

Id. at 665 (emphasis added). The court further noted that “[i]n a class

proceeding, defendants may challenge the reliability of an expert’s

evidence under Daubert [and] Rule 702.” Id. n.7 (citing Comcast Corp. v.

Behrend, 569 U.S. 27, 32 n.4 (2013)).

       Rule 702 takes on an even more prominent role in cases where, as

here, a class certification decision relies entirely on expert testimony. In

such circumstances, several circuits have held that expert testimony can


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be considered in connection with class certification only if the district

court conclusively determines that it is admissible after a rigorous Rule

702 analysis. For example, in Sher v. Raytheon Co., 419 F. App’x 887,

890 (11th Cir. 2011), the Eleventh Circuit found persuasive the Seventh

Circuit’s opinion in American Honda Motor Co., Inc. v. Allen, 600 F.3d

813 (7th Cir. 2010). Sher explains as follows:

           In American Honda, the Seventh Circuit found
           that “when an expert’s report or testimony is
           critical to class certification, as it is here . . . a
           district court must conclusively rule on any
           challenge to the expert’s qualifications or
           submissions prior to ruling on a class certification
           motion.” Id. at 815-16. The American Honda court
           found that, if the situation warrants, the district
           court must perform a full Daubert analysis before
           certifying the class. Id. at 816. A district court is
           the gatekeeper. It must determine the reliability
           of the expert’s experience and training as well as
           the methodology used. Id. “The [district] court
           must also resolve any challenge to the reliability of
           information provided by an expert if that
           information is relevant to establishing any of the
           Rule 23 requirements for class certification.” Id.

Sher, 419 F. App’x at 890 (emphasis added).

     Similarly, the Third Circuit in In re Blood Reagents Antitrust Litig.,

783 F.3d 183 (3rd Cir. 2015)

           join[ed] certain of our sister courts to hold that a
           plaintiff cannot rely on challenged expert

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           testimony, when critical to class certification, to
           demonstrate conformity with Rule 23 unless the
           plaintiff also demonstrates, and the trial court
           finds, that the expert testimony satisfies the
           standard set out in Daubert. The Supreme Court
           has emphasized that the class certification
           analysis must be “rigorous.” This “rigorous
           analysis” applies to expert testimony critical to
           proving class certification requirements.

Id. at 187 (internal citations omitted) (emphasis added); see also Unger

v. Amedisys Inc., 401 F.3d 316, 319 (5th Cir. 2005) (“[W]e hold that a

careful certification inquiry is required and findings must be made based

on adequate admissible evidence to justify class certification.”).

     Here, the district court’s Order repeatedly demonstrates that the

challenged expert testimony—to use the Seventh and Eleventh Circuits’

phrase—“is critical to class certification.” But as discussed in the next

section of this brief, the district court failed to hold the Consumer

Plaintiffs to their proper Rule 702 burden to establish the admissibility

of that critical testimony.




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     B.    The district court failed to hold the Consumer
           Plaintiffs to their proper Rule 702 burdens, as clarified
           in the forthcoming amendments to that rule

     In reviewing the district court’s Rule 702 analysis, this Court

should be guided by the forthcoming amendments to Rule 702. The

amendments were drafted specifically to correct two widespread judicial

errors in the application of Rule 702—errors that are evident in the

district court’s opinion.1 Although not formally effective until December

1, 2023, these amendments are intended to clarify the proper application

of the current Rule 702, and accordingly are instructive here. See, e.g.,

Sardis v. Overhead Door Corp., 10 F.4th 268, 283–84 (4th Cir. 2021)

(relying on forthcoming Rule 702 amendments, which “echo[] the existing

law”).2

     As amended, Rule 702 will read as follows (new language

underscored; deleted language stricken):



1 The amendments are the product of detailed analyses of Rule 702 case
law in this and other circuits conducted by the Judicial Conference’s
Advisory Committee on the Federal Rules of Evidence. The Advisory
Committee’s rule-revision effort was triggered by a 2015 law review
article co-authored by one of the signatories to this brief. D. Bernstein &
E. Lasker, Defending Daubert: It’s Time to Amend Federal Rule of
Evidence 702, 57 Wm. & Mary L. Rev. 1 (2015).


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     Rule 702. Testimony by Expert Witnesses

     A witness who is qualified as an expert by knowledge, skill,
     experience, training, or education may testify in the form of an
     opinion or otherwise if the proponent demonstrates to the court that
     it is more likely than not that:

     (a) the expert’s scientific, technical, or other specialized knowledge
     will help the trier of fact to understand the evidence or to determine
     a fact in issue;

     (b) the testimony is based on sufficient facts or data;

     (c) the testimony is the product of reliable principles and methods;
     and
     (d) the expert has reliably applied expert’s opinion reflects a reliable
     application of the principles and methods to the facts of the case.

     The district court’s opinion is flawed for both of the reasons that led

to these amendments:




2 See also Brendan Pierson, Judicial committee adopts controversial
change to expert witness rule, Reuters (June 7, 2022),
https://www.reuters.com/legal/government/judicial-committee-adopts-
controversial-change-expert-witness-rule-2022-06-07/ (“‘This does not
change the law at all,’ said U.S. District Judge Patrick Schiltz of
Minnesota, who chairs an advisory committee on rules of evidence and
supported the amendment, before the vote. ‘It simply makes it clearer.’”).

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             1.    The district court failed to hold the Consumer
                   Plaintiffs to their Rule 702 burden of establishing
                   expert admissibility by a preponderance of the
                   evidence

        As explained in the Committee Note, the first amendment to Rule

702 was added “to clarify and emphasize that expert testimony may not

be admitted unless the proponent demonstrates to the court that it is

more likely than not that the proffered testimony meets the admissibility

requirements set forth in the rule.” Jud. Conf., Comm. on Rules of

Practice and Procedure, Comm. Note to Rule 702 at 228 (Oct. 19, 2022)

(citing Fed. R. Evid. 104(a)).3 While this preponderance of the evidence

standard was already implicit in Rule 702—and in Daubert, 509 U.S. at

592, specifically incorporated into a court’s gatekeeping responsibility—

the district court here failed to hold the Consumer Plaintiffs to their

burden of establishing that their expert’s opinion reflects a reliable

application of the principles and methodology to the facts of the case.

        The Committee Note bemoaned that “many courts have held that

the critical questions of the sufficiency of an expert’s basis, and the

application of the expert’s methodology, are questions of weight and not



3   https://tinyurl.com/2x38778a.

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admissibility.” Comm. Note at 228. “These rulings are an incorrect

application of Rule 702 and 104(a).” Id.; see also id. (“The amendment

clarifies that the preponderance standard applies to the three reliability-

based requirements added in 2000—requirements that many courts have

incorrectly determined to be governed by the more permissive Rule

104(b) standard”); Advisory Committee on Evidence Rules, Minutes of

the Meeting of November 13, 2020, at 4 (“[F]ederal cases . . . revealed a

pervasive   problem     with    courts      discussing   expert    admissibility

requirements as matters of weight.”).4

     In light of this guidance, the Court should be wary in following prior

judicial authority that fails to properly apply the preponderance of the

evidence standard to expert admissibility determinations. “While it is

true that the Rule 104(a) preponderance of the evidence standard applies

to Rule 702 as well as other rules, it is in the area of expert testimony




4Advisory Committee on Evidence Rules, Minutes of the Meeting of
November 13, 2020, https://tinyurl.com/37xjnu7r.

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that many courts are ignoring that standard.” See Report of the Advisory

Committee on Evidence Rules 5 (Dec. 1, 2020).5

     The Chair of the Advisory Committee’s Subcommittee on Rule 702,

District Judge Thomas Schroeder, has specifically called attention to case

law in the Ninth Circuit, which he explained is “facially wrong” in its

failure to hold proponents of expert testimony to their Rule 104(a)

burden. See T.D. Schroeder, Toward a More Apparent Approach to

Considering the Admission of Expert Testimony, 95 Notre Dame L. Rev.

2039 (2020). Judge Schroeder noted that “[t]he Ninth Circuit appears to

set its own standard for assessing admissibility of expert opinion apart

from Rule 702” and improperly “interpret[s] Daubert as liberalizing the

admission of expert testimony.” Id. at 2051.

     In particular, rather than holding proponents of expert testimony

to their Rule 104(a) burden, some Ninth Circuit cases had improperly

relied on the proposition that “[s]haky but admissible [expert] evidence

is to be attacked by cross examination, contrary evidence, and attention

to the burden of proof, not exclusion.” Id. at 2050 (quoting City of Pomona


5Mem. for Hon. John D. Bates from Hon. Patrick J. Schiltz, Report of the
Advisory Committee on Evidence Rules (Dec. 1, 2020),
https://tinyurl.com/yh3ybthn.

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v. SQM N. Am. Corp., 750 F.3d 1036, 1044 (9th Cir. 2014) and Primiano

v. Cook, 598 F.3d 558, 564 (9th Cir. 2010)); see also id. at 2042 (“[S]ome

courts have defaulted to invoking the Supreme Court’s caution that Rule

702 is not meant to prohibit ‘shaky but admissible’ evidence and have

relegated the issue to the jury’s consideration on the grounds it can be

subject to cross-examination and contrary proof.”). In so doing, “these

courts     have    inadvertently      applied    Rule    104(b)’s    standard    for

admissibility, in contravention of Daubert.” Id. at 2042–43.

     The district court’s opinion below reflects this same “facially wrong”

application of Rule 702. At no point in its analysis did the district court

cite Rule 104(a) or note plaintiffs’ burden to establish the admissibility of

their expert’s testimony under the preponderance of the evidence

standard. Rather, the district court improperly stated that “Rule 702

should be applied with a ‘liberal thrust’ favoring admission,” Order, ER-8,

and relies on the very same Primiano opinion that has been criticized by

Judge Schroeder as incorrect. Most notably, in its ultimate admissibility

ruling, the district court appears to have flipped the burden altogether,

denying the Rule 702 motion because “Google has not demonstrated that




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unreliability or invalidity warrant exclusion of Dr. Singer’s opinions.” Id.

at 7 (emphasis added).

     Google, of course, had no such burden. Under Rule 702, it is the

Consumer Plaintiffs who bear the burden of establishing by a

preponderance of evidence that their expert’s testimony satisfies each of

the requirements set forth in subdivisions (a) – (d) of Rule 702. In failing

to hold plaintiffs to this burden, the district court abandoned its Rule 702

gatekeeping responsibility.

           2. The district court failed to hold the Consumer
              Plaintiffs to their burden of establishing that their
              expert’s opinion reflects a reliable application of the
              principles and methodology to the facts of the case

     The second amendment to Rule 702—requiring proponents of

expert testimony to establish an expert’s “reliable application” of his

methodology to the facts of the case—was adopted “to emphasize that

each expert opinion must stay within the bounds of what can be

concluded from a reliable application of the expert’s basis and

methodology.” Comm. Note at 230. As the Committee Note explains, the

judicial gatekeeping responsibility imposed in subsection 702(d) “is

essential because just as jurors may be unable, due to lack of specialized

knowledge, to evaluate meaningfully the reliability of scientific and other
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methods underlying expert opinion, jurors may also lack the specialized

knowledge to determine whether the conclusions of an expert go beyond

what the expert’s basis and methodology may reliably support.” Id.

     The importance of § 702(d) was further explained in the Advisory

Committee’s Report to the Standing Committee:

           The language of the amendment more clearly
           empowers the court to pass judgment on the
           conclusion that the expert has drawn from the
           methodology. Thus the amendment is consistent
           with General Electric Co., v. Joiner, 522 U.S. 136
           (1997), in which the Court declared that a trial
           court must consider not only the expert’s
           methodology but also the expert’s conclusion; that
           is because the methodology must not only be
           reliable, it must be reliably applied.

Report to the Standing Committee, Advisory Committee on Evidence

Rules, at 6 (May 15, 2022).6

     The district court failed to properly apply this Rule 702 standard in

admitting Dr. Singer’s testimony. Again, citing to the flawed

admissibility standard set forth in Primiano, the district court held that

expert opinion is reliable so long as “the knowledge underlying it has a



6Mem. for Hon. John D. Bates from Hon. Patrick J. Schiltz, Report of the
Advisory Committee on Evidence Rules (May 15, 2022),
https://tinyurl.com/yu6f299b.

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reliable basis in the knowledge and experience of the relevant discipline.”

Order, ER-8. The district court thus limited its inquiry to whether Dr.

Singer was qualified and whether he applied methodologies that were

“used in [the] economic literature.” Id. at ER-12. Finding these conditions

to be met, the district court went no further.

     In so doing, the district court failed to satisfy its subsection (d)

gatekeeping responsibility “to determine whether the conclusions of an

expert go beyond what the expert’s basis and methodology may reliably

support.” As explained by Google in its Merits Brief (Dkt. 20) at 38-55,

the district court admitted Dr. Singer’s opinions without any meaningful

scrutiny of the facts that (1) his selected economic model is not used in

the antitrust context, (2) his application of this model rested on

assumptions about consumer practices rather than evidence, and (3) his

conclusions were contrary to market evidence regarding the pricing

strategy followed by app developers.

     The district court waved off its subsection (d) obligation to address

these facts, holding that “the test under Daubert is not the correctness of

the expert’s conclusions but the soundness of his methodology,” Order,

ER-8, and arguing that concerns regarding the reliability of Dr. Singer’s


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application of his methodology in reaching his conclusions “is the stuff of

cross-examination and not exclusion.” Id. at ER-13. Quoting Primiano,

the district court argued that it was “a gatekeeper, not a fact finder.” Id.

at ER-8 (quoting Primiano, 598 F.3d at 568)). But as the Advisory

Committee has explained, “when it comes to making preliminary

determinations about admissibility, the judge is and always has been a

factfinder.” Report to the Standing Committee, Advisory Committee on

Evidence Rules, at 7 (May 15, 2022).

     In failing to recognize its Rule 702(d) obligation and conduct the

necessary factual inquiry into whether Dr. Singer “stay[ed] within the

bounds of what can be concluded from a reliable application” of his bases

and methodology, the district court erred as a matter of law. See also

Schroeder, supra at 2039 (“[S]ome trial and appellate courts misstate

and muddle the admissibility standard, suggesting that questions of the

sufficiency of the expert’s basis and the reliability of the application of

the expert’s method raise questions of weight that should be resolved by

a jury, where they can be subject to cross-examination and competing

evidence. The state of affairs has prompted the United States Judicial

Conference’s Advisory Committee on the Federal Rules of Evidence to


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consider possible amendment to Rule 702 to reiterate the need for proper

application of Rule 104(a)’s threshold to each requirement of Rule 702.”).

For this reason as well, the district court’s ruling should be reversed.

                               CONCLUSION

     This Court should reverse the district court’s class-certification

Order.

                                        Respectfully submitted,
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                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT

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